                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
UNITED STATES OF AMERICA            )                  DOCKET NO. 3:19-cr-         226       -FDW
                                    )
         v.                         )
                                    )
OMAR CARILLO-VILLAGRANA             )                  FACTUAL BASIS
____________________________________)

       NOW COMES the United States of America, by and through R. Andrew Murray, United
States Attorney for the Western District of North Carolina, and hereby files this Factual Basis in
support of the plea agreement filed simultaneously in this matter.

        This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea(s) that the defendant will
tender pursuant to the plea agreement, and that the facts set forth in this Factual Basis are
sufficient to establish all of the elements of the crime(s). The parties agree not to object to or
otherwise contradict the facts set forth in this Factual Basis.

       Upon acceptance of the plea, the United States will submit to the Probation Office a
“Statement of Relevant Conduct” pursuant to Local Criminal Rule 32.4. The defendant may
submit (but is not required to submit) a response to the Government’s “Statement of Relevant
Conduct” within seven days of its submission. The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that
they have the right to object to facts set forth in the presentence report that are not contained in
this Factual Basis. Either party may present to the Court additional relevant facts that do not
contradict facts set forth in this Factual Basis.

        The Defendant further agrees that this Factual Basis may be used for any and all purposes
by the United States, including in the event that the Defendant fails to enter or attempts to
withdraw the Defendant’s plea of guilty, that it constitutes an admission, as defined by Rule
801(d)(2)(A) of the Federal Rules of Evidence, and will be admissible against the Defendant,
without objection, and the Defendant knowingly and voluntarily waives the right to object to the
admission of this Factual Basis on any ground, including Federal Rule of Criminal Procedure
11(f) and Federal Rule of Evidence 410.

        1. From at least as early as in or about 2016 to in or about December 2016, in
Mecklenburg County, within the Western District of North Carolina, and elsewhere, the
Defendant, OMAR CARILLO-VILLAGRANA, did knowingly and intentionally conspire and
agree with other persons, known and unknown to the United States, to distribute and to possess
with intent to distribute five hundred (500) grams or more of a mixture and substance containing


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